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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.:07-23204-CIV-MORENO/SIMONTON


 MARGARET L. BROWN, an individual,

                Plaintiff,

 vs.

 GC SERVICES LIMITED PARTNERSHIP,
 a Delaware limited partnership,

                Defendant.
                                               /

                                   NOTICE OF SETTLEMENT

        Plaintiff, Margaret L. Brown, an individual (“Ms. Brown”), by and through her

 undersigned attorney, pursuant to Rule 16.2F2, Local Rules of the United States District Court,

 Southern District of Florida, hereby provides notice of the settlement of the above referenced

 action. Plaintiff requests that the Court enter an order directing that the action be dismissed

 subject to the right of any party to move the Court within sixty (60) days thereafter for the

 purpose of entering a stipulated form of final order or judgment.




                                                       /s/ Robert W. Murphy
                                                       ROBERT W. MURPHY
                                                       Florida Bar No. 717223
                                                       1212 S.E. 2nd Avenue
                                                       Ft. Lauderdale, Florida 33316
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 7, 2008, I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
 is being served this day on Ernest H. Kohlmyer, III, Esquire, Bell, Roper & Kohlmyer, P.A.,
 2707 East Jefferson Street, Orlando, FL 32803, in the manner specified, either via transmission
 of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for
 those counsel or parties who are not authorized to receive electronically Notices of Electronic
 filing.


                                                    /s/ Robert W. Murphy
                                                    ROBERT W. MURPHY
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